      Case 4:21-cv-03151 Document 22 Filed on 10/12/22 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                           UNITED STATES DISTRICT COURT                                October 13, 2022
                            SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                HOUSTON DIVISION


BRYON A PARFFREY,                               §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:21-CV-03151
                                                §
PHH MORTGAGE CORPORATION,                       §
                                                §
        Defendant.                              §


                              ORDER OF FINAL JUDGMENT

       Came on to be considered in the above-referenced matter, the Joint Motion for Entry of

Agreed Final Judgment filed by Bryon Parffrey, PHH Mortgage Corporation, and Angeline

Parffrey. Upon consideration, and noting the agreement of the Parties, the Court is of the opinion

that the Joint Motion is well-taken and should be GRANTED.

       The Court shall date, execute, and enter the Agreed Final Judgment submitted with

the Joint Motion.

       IT IS SO ORDERED.

        Signed at Houston, Texas on October 12, 2022.


                                                     _______________________________
                                                     Keith P. Ellison
                                                     United States District Judge




1/1
